            Case 1:21-cr-00566-RCL Document 50 Filed 02/01/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )
                                              )       Criminal No. 1:21-cr-00566-RCL
DAVID NICHOLAS DEMPSEY                        )
                                              )
         Defendant                            )

                  MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       David Benowitz and Price Benowitz LLP respectfully request that this Court grant their

request for leave to withdraw as counsel in this matter. Amy C. Collins will remain individually

as counsel. Mr. Dempsey has been informed of and consents to this request.

       WHEREFORE, for the reasons stated above, David Benowitz and Price Benowitz LLP

respectfully request that this Court grant their Motion.




                                                      Respectfully submitted,

                                                      ____/s/____________
                                                      David Benowitz
                                                      DC Bar # 451557
                                                      Counsel for David Dempsey
                                                      Price Benowitz LLP
                                                      409 7th Street, NW, Suite 200
                                                      Washington, DC 20004
                                                      O: (202) 417-6000
                                                      M: (202) 271-5249
                                                      F: (202) 664-1331
                                                      David@PriceBenowitz.com




                                                  1
         Case 1:21-cr-00566-RCL Document 50 Filed 02/01/24 Page 2 of 2




                                CERTIFICATE OF SERVICE


       I hereby certify that on this 1st day of February 2024, I caused a true and correct copy of

the foregoing Motion to be delivered via CM/ECF to all parties in this matter.



                                                     ____/s/____________________
                                                     David Benowitz




                                                2
